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                          United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA


Robert Emert
                                                           Civil Action No. 24-cv-02072-CAB-JLB

                                             Plaintiff,
                                      V.
California Department of Child Support                       JUDGMENT IN A CIVIL CASE
Services; Does 1-50


                                           Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
Plaintiff’s application to proceed IFP is DENIED and Plaintiff’s case is DISMISSED. It is SO
ORDERED.




Date:          11/26/24                                       CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ A. Hazard
                                                                                   A. Hazard, Deputy
